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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


IN RE: TESTOSTERONE                                     )   MDL No. 2545
REPLACEMENT THERAPY                                     )
PRODUCTS LIABILITY LITIGATION                           )   Case No. 14 C 1748
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This document relates to:                               )
                                                        )
Medical Mut. of Ohio v. AbbVie,                         )   Case No. 14 C 8857
Inc., No. 1:14-cv-8857                                  )


                         CASE MANAGEMENT ORDER NO. 105
      (Order on plaintiff's motion to compel regarding promotional expenditures
           and memberships/sponsorships in Med. Mut. of Ohio v. AbbVie)

         Plaintiff Medical Mutual of Ohio (MMO) has moved to compel defendants to

provide further responses to two interrogatories regarding promotional expenditures and

sponsorships. The Court overrules defendants' timeliness objection and need not

address at this point the implications of compelling this discovery with respect to the

briefing of MMO's motion for class certification. The Court makes the following rulings

regarding the two interrogatories.

Interrogatory 2

  •      AbbVie: The Court directs AbbVie to serve, by no later than March 26, 2018, an

         amended response to Interrogatory 2. The amended response must identify by

         Bates number the new documents responsive to this particular interrogatory that

         AbbVie says it located and produced after MMO filed its motion to compel.

         AbbVie must also narrow the Bates numbers in the amended response so that

         they reflect only responsive information—a task AbbVie says it is willing to

         undertake. In addition, it is unclear to the Court whether AbbVie limited its
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    response to Interrogatory 2 by providing information only about expenditures for

    promotion to third-party payors. If AbbVie did not limit its response in this

    manner, its amended response must say so. If AbbVie limited its response in

    this manner, its amended response must include information about expenditures

    for promotion of TRT drugs to healthcare providers and consumers.

•   Actavis: The Court directs Actavis to serve, by March 26, 2018, an amended

    response to Interrogatory 2. The amended response must identify by Bates

    number the documents Actavis identifies in its opposition memorandum as

    responsive to this interrogatory as well as any other documents or information

    responsive to Interrogatory 2 that Actavis has produced. The Court also orders

    Actavis to immediately ascertain whether it, like AbbVie, can obtain further

    supporting detail for the responsive information it has already produced by

    searching records such as structured databases, and to include such information

    (or a particularized explanation of why it cannot be obtained) in its amended

    response. In addition, it is unclear to the Court whether Actavis limited its

    response to Interrogatory 2 by providing information only about expenditures for

    promotion to third-party payors. If Actavis did not limit its response in this

    manner, its amended response must say so. If Actavis limited its response in

    this manner, its amended response must include information about expenditures

    for promotion of TRT drugs to healthcare providers and consumers.

•   Eli Lilly: The Court directs Eli Lilly to serve, by March 26, 2018, an amended

    response to Interrogatory 2. The amended response must identify by Bates

    number the document Eli Lilly identifies in its opposition memorandum as


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    responsive to the interrogatory as well as any other documents or information

    responsive to Interrogatory 2 that Eli Lilly has produced. The Court also orders

    Eli Lilly to immediately ascertain whether it, like AbbVie, can obtain further

    supporting detail for the responsive information it has already produced by

    searching records such as structured databases, and to include such information

    (or a particularized explanation of why it cannot be obtained) in its amended

    response.

•   Endo: The Court directs Endo to immediately ascertain whether it, like AbbVie,

    can obtain further supporting detail for the responsive information it has already

    produced by searching records such as structured databases, and to include

    such information (or a particularized explanation of why it cannot be obtained) in

    an amended response to Interrogatory 2, which must be served by March 26,

    2018.

•   Auxilium: The Court directs Auxilium to immediately ascertain whether it, like

    AbbVie, can obtain further supporting detail for the responsive information it has

    already produced by searching records such as structured databases, and to

    include such information (or a particularized explanation of why it cannot be

    obtained) in an amended response to Interrogatory 2, which must be served by

    March 26, 2018. In addition, if Auxilium is in possession, custody, or control

    of hard-copy documents and/or electronic custodial documents from before its

    merger with Endo—and if the hard-copy documents are labeled or indexed in a

    way that suggest they might contain information responsive to this




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       interrogatory—Auxilium must search them and include this information in its

       amended response that is to be served by March 26, 2018.

Interrogatory 4

       MMO agreed that Endo and Auxilium could use eight specific entities identified in

MMO's third amended complaint as a starting point to search for information responsive

to Interrogatory 4, reserving its right to seek relief beyond those entities. In view of this

understanding that MMO reached with Endo and Auxilium, the Court orders that the

same understanding will apply to Interrogatory 4 with regard to AbbVie, Actavis, and Eli

Lilly and further orders as follows.

  •    AbbVie: AbbVie states that it has already started searching its structured

       databases for responsive information regarding the eight entities. AbbVie must

       complete these searches and serve an amended response to Interrogatory 4 by

       March 26, 2018.

  •    Actavis: Unlike AbbVie, Actavis does not state that it has already started

       searching for responsive information regarding the eight entities. Actavis must

       conduct these searches and serve an amended response to Interrogatory 4 by

       March 26, 2018. Actavis's amended response also must identify, by Bates

       number, the documents Actavis identifies in its opposition memorandum as

       responsive to this interrogatory, as well as any other responsive documents or

       information it has produced.

  •    Eli Lilly: Like AbbVie, Eli Lilly states that it has already started searching its

       records for responsive information regarding the eight entities. Eli Lilly must

       complete these searches and serve an amended response to Interrogatory 4 by


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       March 26, 2018. In addition, Eli Lilly's amended response must identify the

       information Eli Lilly references in its opposition memorandum as responsive to

       this interrogatory, as well as any other responsive documents or information it

       has produced.

It is so ordered.

Date: March 14, 2018                            _______________________________
                                                     MATTHEW F. KENNELLY
                                                     United States District Judge




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